
17 N.Y.2d 924 (1966)
In the Matter of Stanley Simon, Appellant,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York; Seymour Rubinstein et al., Respondents.
In the Matter of Joseph Cohen, Appellant,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York; Seymour Ross et al., Respondents.
Court of Appeals of the State of New York.
Argued June 21, 1966.
Decided June 21, 1966.
Murray L. Lewis and Harry H. Lipsig for appellants.
Joseph Rosenzweig for Seymour Rubinstein and others, respondents.
Irving Katcher for Seymour Ross and others, respondents.
Concur: Judges FULD, VAN VOORHIS, BURKE, SCILEPPI, BERGAN and KEATING; Chief Judge DESMOND concurs in result solely on the ground that the signers of the section 148-a petition were misinformed or deceived as to the true purpose of the petition.
Orders of the Appellate Division reversed and those of Special Term reinstated, without costs, upon the dissenting opinion at the Appellate Division. No opinion.
